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IN THE UNITED STATES DlSTRICT COURT §§
FOR THE WESTERN DISTRICT OF TENNESSEE, EASTERN DIVISI(l)

fr.

F,'\_.,
~'*.)

DEBBIE BARRETT;

CRYSTAL WALFORD;

SONJA LEFLER; SHARON SKUFCA;
MISTY YERBY; DANA MCFALL;
SHEILA WILKERSON; VALERIE
KINNEY; RHONDA KELLEY;
BRANDON GARRARD; GREGORY
CHERRY; BRIAN BOERSMA; MICHAEL
RISNER; JEREMY HURST; and JAMES
CUMMINGS,

 

Plaintiffs
v. No.: 1-05_1,0040-T/AN
O'~:§ » \ t q o
HARDIN COUNTY, TENNESSEE,
Defendant.

CONSENT ORI}ER CERTIFYING CLASS ACTION

 

This cause came to be heard upon Plaintiffs’ “Unopposed Motion to Certify Class Action
for Declaratory and Injunctive Relief.”

IT APPEARING TO THE C()URT, that the parties agree to the following:

l. T`he number of persons incarcerated in the Hardin County Jail changes, and is so
numerous that joinder of all members is impractical

2. There are questions of law and fact common to the class, namely whether the
conditions in the Hardin County Jail violate the Eighth and Fourteenth Amendments to the
United States Constitution, and Article l §32 of the Tennessee Constitution.

3. The claims of Plaintiffs will be typical of the claims of the class.

4. Plaintiffs will fairly and adequately represent the members of the class

This document entered on the docket s_hee_t in compliance
with ama se and:or_?e (a) FRCP on ‘ 0

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5. A class should be certified under Federal Rule of Civil Procedure 23(b)(2) since
Hardin County has acted on grounds generally applicable to the class, thereby making
appropriate final injunctive relief and corresponding declaratory relief, if any, with respect to the
class as a whole.

lT FURTHER APPEARING TO THE COURT, that a class should be certified in
accordance with Federal Rules of Civil Procedure 23(b)(2), and defined as:

All persons who are presently, or in the future will be,
incarcerated in the Hardin County .lail

IT FURTHER APPEARING TO THE COURT, that the parties agree that the class
certification is for declaratory and injunctive relief only. By entering this consent order,
Defendant Hardin County is not admitting to liability or Plaintiff"s entitlement to declaratory cr
injunctive relief.

IT IS THEREFORE, ORDERED, ADJUDGED, AND DECREED, by consent that:

l. This case is certified as a class action, for purposes of declaratory and injunctive
relief only, in accordance with Rule 23(b)(2) of the F ederal Rules of Civil Procedure.

2. The class is defined as:

All persons who are presently, or in the future will be,
incarcerated in the Hardin County Jai]

»,/,
lt is so ordered, this 23 day ofJune, 2005

Jame .Todd
Unit States District Judge

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We Consent:

%é./',,! , ,M_
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Jackson, Tennessee 3 8305

Attorney for Hardin County

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Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 1:05-CV-01140 was distributed by faX, mail, or direct printing on
June 23, 2005 to the parties listed.

 

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Honorable .l ames Todd
US DISTRICT COURT

